     Case 2:11-cr-00071-RHW   ECF No. 79   filed 09/16/11   PageID.170 Page 1 of 1




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 5
                           UNITED STATES DISTRICT COURT
 6                        EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,               )
 8                                            )     CR-11-071-RHW-3
                       Plaintiff,             )
 9                                            )     ORDER FOLLOWING STATUS
      v.                                      )     CONFERENCE AND GRANTING
10                                            )     ORAL MOTION
      DONNA MARIE STONE, a/k/a Donna          )
11    Marie Dansby,                           )            ECF No. 78
                                              )
12                     Defendant.             )

13         At the September 16, 2011 status conference, Defendant orally

14   moved for modification of her curfew during her mother’s wedding.

15   (ECF No. 78.)      The unopposed motion was GRANTED; however, since

16   there will be alcohol at the wedding, Defendant may not stay

17   overnight.     Defendant’s curfew may be extended on September 17,

18   2011, to 9:00 p.m.

19         The next status conference will be held on November 10, 2011,

20   at 2:30 p.m. before the undersigned.

21         All other conditions of release remain.

22         DATED September 16, 2011.

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                               S/ CYNTHIA IMBROGNO
24                        UNITED STATES MAGISTRATE JUDGE

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     ORDER - 1
